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 AST BATON ROUGE PARISH           C-709852
 Filed Jul 21, 2021 11:00 AM
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   Deputy Clerk of Court




                  19™ JUDICIAL DISTRICT COURT FOR THE PARISH OF EAST BATON ROUGE

                                                                   STATE OF LOUISIANA
                 NO.                                                                                                                              DIVISION


                                                                            IVY MORRIS


                                                                                  VERSUS                                                                                     3


                           WAL-MART LOUISIANA, LLC, WAL-MART STORES, INC., AND
                                 WAL-MART BUSINESS REAL ESTATE TRUST



                 FILED:
                                                                                                                                        DEPUTY CLERK


                                                                PETITION FOR DAMAGES

                       NOW INTO COURT, through undersigned counsel, comes Petitioner, Tvy Morris, a person

            of the full age of majority and a resident of the State of Louisiana, who, with respect, shows the

            Court as follows:

                                                                                        1.


                       That Wal-Mart Louisiana, LLC, made a party defendant herein, is a limited liability

            company organized under the laws of the State of Delaware, authorized to do and doing business

            in Louisiana at all relevant times herein, with members domiciled in unknown States. That Wal-

            Mart Stores, Inc., made a party defendant herein, is a corporation organized under the laws of the

            State of Delaware, authorized to do and doing business in Louisiana at all relevant times herein.

            That Wal-Mart Business Real Estate Trust, made a party defendant herein, is a real estate

            investment trust organized under the laws of the State of Delaware, authorized to do and doing

            business in the State of Louisiana at all relevant times herein, with location of principals unknown.

            That said defendants are liable jointly and/or in-solido, to Petitioner, for the following:

                                                                                       II.

             .         That Wal-Mart Louisiana, LLC, Wal-Mart Stores, Inc., and Wal-Mart Business Real Estate

            Trust (hereafter referred to collectively as "Wal-Mart") own, possess, and exert custody and

            control over immovable property located at 10606 N. Mall Drive, Baton Rouge, LA 70809

            (hereafter referred to as the "Premises"), where said Defendants operate a business open to the

            general public, or assist another entity in the operation of the same.

                                                                                      III.

                       By virtue of their ownership of the Premises and business operations conducted thereon,


            Defendants owed a general duly of care to maintain the walkways of the Premises in a reasonably

            safe condition. Specifically included in this general duty of care are obligations to:




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                          A. Adhere to Defendant, Wal-Mart's own proper display requirements when placing products
                               onto pallets and shelving;


                          B.   Adhere to Defendant, Wal-Mart's own maximum height and width requirements when
                               stacking products onto pallets that are located along the walkways meant for customers;


                          C.   Reasonably secure products that are stacked onto pallets in order to prevent products from
                               falling;

                          D.   Exercise proper safety practices and guidelines when placing products onto pallets;

                          E.   Warn customers of any product display that it knows, or should know, is unreasonably
                               dangerous; and

                          F.   Ensure that all product displays are able to resist normal, ordinary, foreseeable, and typical,
                               incidental forces that the display is reasonably expected to be subject to during normal
                               business operations.                        •

                                                                                                 IV.


                               That on or about November 27, 2020, Petitioner, Ivy Morris, went to the Premises to shop.


                     That Ms. Morris was walking in an aisle and approaching a product display which consisted of

                     large flat screen televisions stacked on top of one another (hereafter referred to as the "Product

                     Display").

                                                                                                 V.


                               Prior to Ms. Morris' arrival, a Wal-Mart employee and/or agent improperly stacked the

                     large flat screen televisions comprising the Product Display. Specifically, The large flat screen

                     televisions were stacked too high, too wide, and without any means to secure them in place. As a

                     result, the large flat screen televisions were unstable and likely to fall. As discussed below, this

                     employee and/or agent's decision to negligently stack product boxes in violation of industry safety

                     codes—-and Walmart's own internal product display guidelines—is at the heart of the subject

                     dispute. Once Walmart identifies this unknown employee and/or agent, Plaintiff intends to ask the

                     Court for permission to amend the lawsuit to join them to the action,

                                                                                                VI.


                               That the Product Display constituted an unreasonably dangerous condition because the

                     large flat screen televisions were inadequately secured, stacked too high, arranged improperly and

                     precariously, and were unable to resist normal, ordinary, and foreseeable forces from normal

                     business operations and incidental shopper contact. Specifically, even slight contact in a high

                     traffic area of the store - a foreseeable force in a busy store — could cause the entire display to fail.

                                                                                                VII.


                               Employees and/or agents of Wal-Mart created the Product Display, made the decision to

                     violate the maximum height and width requirements for displaying products, and failed to secure



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               the products on the Product Display leading to instability, and failure under normal conditions. As


               a result, Defendants had actual knowledge of the hazard they created. Moreover, even casual


               observation by Wal-mat employees would have revealed that the Product Display violated internal

               display guidelines but the display was allowed to persist in this condition for an unreasonable

               length of time.

                                                                                      vnr.

                        As Ms. Morris and other shoppers passed by the Product Display, the large flat screen


               televisions comprising the Product Display toppled over onto Ms. Morris, causing her to fall and


               sustain injuries.

                                                                                       IX.


                       The sole legal and proximate cuuse of the collapse of the Product Display was the negligent


               decision of the unknown Wal-Mart employee and/or agent to improperly stack the large flat screen

               televisions in such a way that they could not resist normal and foreseeable forces that would be


              common in a store such as the premises. As such, Wal-Mart failed to warn Ms. Morris and failed


              to remedy the unreasonably dangerous condition of the Product Display, despite having notice of

              same, which lead to the products falling onto Ms. Morris. Wal-Mart and the unknown employee

              to be added in discovery are liable to Petitioner pursuant to La, R.S. 9:2800.6, and other laws, for

              the damages occasioned by the incident described herein.

                                                                                       X.


                       That as a result of the aforesaid fall, Ivy Morris, has sustained injuries to her body and

              mind, including her head, neck, back and shoulders, together with past and future mental anguish

              and physical suffering; past and future loss of enjoyment of life; past and future expenses for

              medical care; all of which entitles Petitioner, Ivy Morris, to recover from Defendants the damages

              as are reasonable in the premises.

                       WHEREFORE,                  Petitioner,           Ivy      Morris,          prays,        that       Defendants,             WAL-MART

              LOUISIANA,           LLC,       WAL-MART STORES, INC.,                                   and      WAL-MART BUSINESS                         REAL

              ESTATE TRUST, be served with a certified copy of this petition, and after being duly cited to

              appear and answer hereto, and after the expiration of all legal delays and due proceedings are had,

              that there be judgment rendered herein in favor of Petitioner, Ivy Morris, and against Defendants,

              WAL-MART LOUISIANA, LLC, WAL-MART STORES, INC., and WAL-MART BUSINESS

              REAL ESTATE TRUST, in solido, for damages us are reasonable in the premises; said judgment




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         to benr legal interest from the date of judicial demand until paid and for all costs of these


        proceedings.


                                                                               RESPECTFULLY SUBMITTED:

                                                                               MORRIS BART, LLC
                                                                               ATTORNEY FOR PLAINTIFF
                                                                               601 POYDRAS STREET, 24TH FLOOR
                                                                               NEW ORLEANS, LA 70130
                                                                               TELEPHONE: (504) 525-8000
                                                                               FACSIMILE: (504) 617-7657
                                                                               E-MAIL: Jrichards@morrisbart.com




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        PLEASE SERVE THE PETITION                                          FOR DAMAGES, INTERROGATORIES.                                                AND
        REQUESTS  FOR PRODUCTION                                           OF DOCUMENTS   (ENCLOSED! ON                                                 THE
        FOLLOWINC NAMED DEFENDANTS:

        WAL-MART LOUISIANA, LLC
        Through their registered agent for service of process
        C T Corporation System
        3867 Plaza Tower Dr.
        Baton Rouge, LA 708 1 6


        WAL-MART STORES, INC.
        Through their registered agent for service of process
        C T Corporation System
        3867 Plaza Tower Dr.
        Baton Rouge, LA 708 1 6

        WAL-MART BUSINESS REAL ESTATE TRUST
        Through their registered agent for service of process
        C T Corporation System
        3867 Plaza Tower Dr.
        Baton Rouge, LA 70816




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